  Case 3:20-cv-00116-GMG Document 9 Filed 09/29/21 Page 1 of 2 PageID #: 47

                   UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF WEST VIRGINIA
Cheryl Dean Riley          OFFICE OF THE CLERK OF COURT               Michelle Widmer-Eby
Clerk of Court                  POST OFFICE BOX 471                     Chief Deputy Clerk
                           WHEELING, WEST VIRGINIA 26003
                                   (304) 232-0011
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                             September 29, 2021

Via CM/ECF
William L. Dixon
c/o George R. Farneth , II
The Farneth Law Group, LLC
845 Charles Street
Wellsburg, WV 26070

Via CM/ECF
Nationwide Insurance Company of America
c/o Ashley Hardesty Odell
Bowles, Rice, LLP - Morgantown
125 Granville Square
Suite 400
Morgantown, WV 26501

        In Re: William L. Dixon v. Nationwide Insurance Company of America, et al.
               Civil Action No. 3:20-cv-116

Dear Mr. Dixon and Nationwide Insurance Company of America,

      I have been contacted by Chief Judge, Gina M. Groh, who presided over the above-
mentioned case. Judge Groh informed me that it has been brought to her attention that
while she presided over the case, her husband owned stock in Nationwide. Her
husband’s ownership of stock neither affected nor impacted her decisions in this case,
which was terminated after settlement upon entry of an Agreed Final Dismissal Order
with no substantive orders issued by Judge Groh. However, her husband’s stock
ownership would have required recusal under the Code of Conduct for United States
Judges, and thus, Judge Groh directed that I notify the parties of the conflict.


500 West Pike Street, Room 301         P.O. Box 1518         217 W. King Street, Room 102
Clarksburg, WV 26302                 Elkins, WV 26241              Martinsburg, WV 25401
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 Case 3:20-cv-00116-GMG Document 9 Filed 09/29/21 Page 2 of 2 PageID #: 48

       Advisory Opinion 71, from the Judicial Conference Codes of Conduct
       Committee, provides the following guidance for addressing
       disqualification that is not discovered until after a judge has participated
       in a case:

               [A]judge should disclose to the parties the facts bearing on
       disqualification as soon as those facts are learned, even though that may
       occur after entry of the decision. The parties may then determine what
       relief they may seek and a court (without the disqualified judge) will
       decide the legal consequence, if any, arising from the participation of
       the disqualified judge in the entered decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of
Appeals oral argument, the Committee explained “[s]imilar considerations would apply
when a judgment was entered in a district court by a judge and it is later learned that the
judge was disqualified.” With Advisory Opinion 71 in mind, you are invited to respond
to Judge Groh’s disclosure of a conflict in this case. Should you wish to respond, please
submit your response in writing by filing it on the docket of this case on or before October
13, 2021. Any response will be considered by another judge of this court without the
participation of Judge Groh.

                             Sincerely,



                             Cheryl Dean Riley,
                             Clerk of Court




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